THE FOLLOWING ORDER
IS APPROVED AND ENTERED
AS THE ORDER OF THIS COURT:

DATED: October 10, 2018
                                                         Beth E. Hanan
                                                         United States Bankruptcy Judge
                         UNITED STATES BANKRUPTCY COURT FOR THE
                              EASTERN DISTRICT OF WISCONSIN


 IN RE                                                 Chapter: 7
 Mary Ann Stevens fka Mary A Gonion and Steve
 Robert Stevens                                        Case No. 18-28621-beh

        Debtors.

  ORDER GRANTING MOTION OF NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER
         FOR RELIEF FROM THE AUTOMATIC STAY AND ABANDONMENT

        Nationstar Mortgage LLC d/b/a Mr. Cooper (the "Movant") filed a motion for an order for relief

from the automatic stay and abandonment to foreclose on the Debtor's property located at 516 11th Ave,

Green Bay, Wisconsin 54303 (the "Property"). Due and proper notice was given, and no objections were

filed. The facts recited in the motion show that there is no equity in the property, the Movant's interest in

the Property is not adequately protected, or that other cause exists for granting the Movant's request for

relief from the automatic stay and abandonment.

        IT IS THEREFORE ORDERED: the stay of 11 U.S.C. §362 is modified to permit the Movant to

exercise its rights and remedies with respect to the Property under its loan documents and applicable

nonbankruptcy law.


Drafted by:

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        IT IS FURTHER ORDERED: the Trustee is authorized and ordered to abandon the Property from

the bankruptcy estate under 11 U.S.C. § 554, and abandonment is effective upon entry of this Order.

        IT IS FURTHER ORDERED: all other relief requested in the motion is denied.

        IT IS FURTHER ORDERED: this Order is effective immediately and is not stayed for 14 days

pursuant to Bankruptcy Rule 4001(a)(3).



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